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     MICHAEL JAY BERGER (State Bar # 100291)
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3
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5    Counsel for Debtor-in-Possession
     Mr. Tortilla, Inc.
6
7                             UNITED STATES BANKRUPTCY COURT
8                              CENTRAL DISTRICT OF CALIFORNIA
9                               SAN FERNANDO VALLEY DIVISION
10
11   In re:                                       )        CASE NO.: 1:24-bk-10228-VK
                                                  )
12   Mr. Tortilla, Inc.,                          )        Chapter 11
                                                  )
13                                                )        DEBTOR’S MOTION FOR ORDER
                            Debtor-in-Possession. )        AUTHORIZING CONTINUED USE OF
14                                                )        CASH COLLATERAL PURSUANT TO 11
                                                  )        U.S.C. § 363; MEMORANDUM OF
15                                                )        POINTS AND AUTHORITIES;
                                                  )        DECLARATION OF ANTHONY
16                                                )        ALCAZAR IN SUPPORT THEREOF
                                                  )
17                                                )
18                                                )
                                                  )
19                                                )        Date: May 30, 2024
                                                  )        Time: 1:30 p.m.
20                                                )        Place: Courtroom 301
                                                  )               21041 Burbank Blvd. Suite 354
21                                                )               Woodland Hills, CA 91367
                                                  )
22                                                )
                                                  )
23
24            TO THE HONORABLE VICTORIA S. KAUFMAN, UNITED STATES
25   BANKRUPTCY JUDGE; THE OFFICE OF THE UNITED STATES TRUSTEE;
26   SECURED CREDITORS; TWENTY LARGEST UNSECURED CREDITORS,
27
     AND PARTIES ENTITLED TO NOTICE:
28


                                                       1
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
          MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ANTHONY ALCAZAR IN SUPPORT THEREOF
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1           The Debtor commenced its Chapter 11 bankruptcy case on February 14, 2024 (the
2    “Petition Date”). The Debtor has one prior chapter 11 bankruptcy case filed on August
3    14, 2018 in the Central District Bankruptcy Court, Case No.: 1:18-bk-12051-VK, in
4    which case the Debtor was able to confirm a reorganization plan on April 14, 2020. In the
5    prior bankruptcy, Debtor was discharged on June 26, 2020.
6
            The Debtor specializes in preparing traditional flour tortillas that are low fat, low
7
     calorie, low sodium and are free of cholesterol and trans-fat; the tortillas are unique as
8
     they are flexible and do not break or stick. In addition to traditional flour tortillas, Debtor
9
     produces low-carbohydrate tortillas for low-carb and keto dieters.
10
            In order to effectively reorganize, Debtor must be able to continue to use the cash
11
     collateral of its Secured Creditors in order to pay the reasonable expenses it incurs during
12
     the ordinary course of its business. The Debtor requests authority from this Court to
13
     approve continued use of cash collateral to pay the ordinary and necessary expenses as
14
15   set forth in the attached cash collateral budget, and incorporated herein as Exhibit “1” to

16   continue its business without any interruption. Use of the cash collateral as proposed by

17   the Debtor will allow the Debtor to continue doing business, and preserve the Debtor's
18   assets for the benefit of the estate and the creditors, specifically the Secured Creditors.
19   The Debtor has a reasonable prospect of reorganization through Chapter 11. The
20   continued use of cash collateral to ensure no interruption of Debtor’s business will further
21   allow Debtor to emerge as a reorganized Debtor.
22          The relief sought in the Motion is based upon the Motion, the attached
23   Memorandum of Points and Authorities, and declaration of Anthony Alcazar. The relief
24   sought in the Motion is also based on the statements, arguments, and representations of
25
     counsel to be made at the hearing on the Motion, and any other evidence properly
26
     presented to the Court at or prior to the hearing on the Motion.
27
28


                                                       2
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
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1             FOR THESE REASONS, the Debtor respectfully requests that the Court enter an
2    order:
3             1.    Granting the Motion;
4             2.    Authorizing the Debtor to have continued use of cash collateral for the
5                   period of May 31, 2024 through August 30, 2024 pursuant to 11 U.S.C. §
6
                    363(c)(2)(B) and (c)(3) and Rule 4001(b)(2) of the Federal Rules of
7
                    Bankruptcy Procedure;
8
              3.    Setting a final hearing date on the Debtor’s use of cash collateral; and
9
              4.    Granting such other relief as the Court deems just and proper.
10
11
                                                    LAW OFFICES OF MICHAEL JAY BERGER
12
13
14   Dated: 5/9/2024                        By:     /s/ Michael Jay Berger
                                                    Michael Jay Berger
15                                                  Counsel for Debtor-in-Possession
16                                                  Mr. Tortilla, Inc.
17
18
19
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28


                                                       3
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
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1                      MEMORANDUM OF POINTS AND AUTHORITIES
2
        I.       INTRODUCTION
3
              Debtor seeks this Court’s authority for continued use of cash collateral of the
4
     Secured Creditors for the period of May 31, 2024 to August 30, 2024 in order to pay the
5
     necessary and ordinary expenses of the Debtor’s business operations as described in full
6
     detail and attached to the Declaration of Anthony Alcazar as Exhibit-1.
7
8
        II.      JURISDICTION AND VENUE

9             This Court has jurisdiction over the subject matter of this motion (the “Motion”)

10   pursuant to 28 U.S.C. §§ 157 and 1334. Venue is proper in this Court pursuant to 28

11   U.S.C. §§ 1408 and 1409. This matter is a core proceeding under 28 U.S.C. § 157(b). The
12   Debtor consents to the entry by the Court of a final order with respect to this Motion.
13      III.     INTRODUCTORY STATEMENT
14      A. General Background
15            On February 14, 2024 (the “Petition Date”), the Debtor commenced the Chapter
16   11 Case by filing a voluntary petition under chapter 11 of the Bankruptcy Code. The
17   Debtor operates its business and manage its property as a debtor in possession pursuant to
18
     sections 1107(a) and 1108 of the Bankruptcy Code.
19
              The Debtor is a California corporation which is wholly owned by brothers
20
     Anthony and Ronald Alcazar. The Debtor owns and operates a tortilla manufacturing and
21
     food processing business located in San Fernando -- Mr. Tortilla -- which was started in
22
     2012. Anthony owns 81% of the shares and is the President and CEO. Ronald owns 19%
23
     of the shares and is the CFO.
24
              The Debtor specializes in preparing traditional flour tortillas that are low fat, low
25
     calorie, low sodium and are free of cholesterol and trans-fat; the tortillas are unique as
26
     they are flexible and do not break or stick. Popular flavors include: Gourmet White;
27
28   Whole Wheat; Honey Wheat; Tomato & Basil; Savory Spinach; Chipotle; Jalapeño. In


                                                       4
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
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1    addition to traditional flour tortillas, Debtor produces low-carbohydrate tortillas for low-
2    carb and keto dieters.
3           The Alcazar Brothers decided to start Mr. Tortilla as one of their fondest
4    childhood memories is that of their mother preparing flour tortillas on a flat griddle called
5    a comal. The Debtor sells its tortillas to distributors and wrap manufacturers, and through
6
     online retailers such as Amazon.com and others. Debtor’s product is the top selling
7
     tortilla on Amazon.com.
8
            The events precipitating the Debtor’s current Chapter 11 bankruptcy include
9
     Debtor’s affiliated vendors, such as 8Fig, Inc., intercepting the Debtor’s receivables.
10
        B. Debtor’s Need for the Continued Use of Cash Collateral and Affected Parties
11
            The Debtor has determined that absent the use of cash collateral, it will be unable
12
     to operate its business, irreparably harming the Debtor’s estate and creditors. If the
13
     Debtor is unable to maintain its business and produce and supply tortillas for its
14
15   customers, the Debtor will not be able to run its business, will lose existing employees,

16   vendors, and customers, and will ultimately be forced to cease operations. This will cause

17   harm to the Debtor. Furthermore, lack of use of cash collateral will harm the creditors of
18   the estate because, if the business ceases its operation, no revenue will come in to support
19   the plan payments. Therefore, Debtor’s continued access to cash collateral is necessary
20   to preserve and maximize the value of its assets for the benefit of all parties in interest.
21          The Secured Creditors affected by Debtor’s continued use of cash collateral are as
22   follows in the order of priority of UCC filings:
23      1. U.S. Small Business Administration, UCC no. 20-7779943462, filed May 20,
24          2020.
25      2. Amazon Capital Services, Inc., UCC no. U210083315624, filed September 8,
26          2021. Amazon has the priority claim against Debtor’s cash collateral generated
27
28


                                                       5
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
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1           through Amazon’s seller accounts, notwithstanding the seniority of the U.S. Small
2           Business Administration’s UCC filing.
3       3. Corporation Service Company (as representative), UCC no. U220179776030, filed
4           March 30, 2022
5       4. Corporation Service Company (as representative), UCC no. U220213901220, filed
6           July 27, 2022.
7       5. Sand Park Capital LLC, UCC no. U220219238027, filed August 16, 2022.
8       6. Fasanara Securitisation S.A., UCC no. U220228375230, filed September 20, 2022.
9       7. 8Fig, Inc., UCC no. U220251441725, filed December 14, 2022.
10      8. Huntington Valley Bank, UCC no. U220255076422, filed December 28, 2022.
11      9. First Corporate Solutions (as representative), UCC no. U230007398433, filed
12          January 31, 2023.
13      10. Partners Personnel Management Services, LLC, UCC no. U230017096122, filed
14          March 13, 2023.
15      11. Metropolitan Capital Bank & Trust, UCC no. U230024532824, filed April 7,
16          2023.
17      12. Stor RB One Limited, UCC no. U230077163329, filed October 27, 2023.
18      13. Parkside Funding Group LLC, UCC no. U230017096122, filed January 16, 2024.
19      14. CT Corporation Service Company (as representative), UCC no. U240005322926,
20          filed January 23, 2024.
21      15. Cedar Advance
22      16. Shopify Capital
23      17. Sellers Funding
24   (Collectively the “Secured Creditors”).
25
26          The Debtor seeks permission for the continued use cash collateral, in accordance

27   with the attached budget (“Budget”) attached as Exhibit-1, to pay various necessary
28


                                                       6
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
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1
     items in the ordinary course of business and as authorized by the Court, including payroll,

2    Amazon, the SBA, insiders,1 raw materials, utilities, taxes, and other expenses necessary
3
     for the business operation.
4
             To satisfy the right of the U.S. Small Business Administration (the “SBA”)
5
6    to adequate protection of its interest in the Debtor’s Cash Collateral, the Debtor grants to
7
     the SBA pursuant to Section 361, 363, and 552(b) of the Bankruptcy Code, a valid,
8
     attached, choate, enforceable, perfected, post-petition security interest and lien in and
9
10   against all post-petition assets of the Debtor of the same character and type, to the same
11   nature, extent, validity, and priority that existed prepetition, and to the extent of
12
     diminution in value of SBA’s collateral caused by the Debtor’s use of Cash Collateral.
13
14   Debtor shall, as further adequate protection of the SBA’s interest in Cash Collateral, pay
15   SBA monthly adequate protection payments in the amount of $1,237.00, with the
16
     payment to be made by June 1, 2024 and by the 1st day of every month thereafter until
17
18   further order of this Court.

19           To satisfy the right of Amazon Capital Services, Inc. (“ACS”) to adequate
20
     protection of its interest in the Debtor’s Cash Collateral, Debtor proposes to ACS
21
22   pursuant Section 361, 363, and 552(b) of the Bankruptcy Code, a valid, attached, choate,

23   enforceable, perfected, post-petition security interest and lien in and against all post-
24
     petition assets of the Debtor of the same character and type, to the same nature, extent,
25
26
     1 Notices of Insider Compensation for Anthony Alcazar, Ronald Alcazar, and Tony Alcazar were served
27
     on the parties required to be noticed on February 23, 2024 and no oppositions were received to the
28   Notices of Insider Compensation.


                                                        7
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
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1
     validity, and priority that existed prepetition, and to the extent of diminution in value of

2    ACS’s collateral caused by the Debtor’s use of Cash Collateral. Debtor shall, as further
3
     adequate protection of ACS’s interest in Cash Collateral, pay ACS monthly adequate
4
     protection payments in the amount of $5,000.00, which payment will be deducted by
5
6    ACS from Debtor’s seller account and applied toward ACS’s loan balance.
7
              To satisfy the right of Sand Park Capital, LLC (the “Sand Park”) to
8
     adequate protection of its interest in the Debtor’s Cash Collateral, the Debtor proposes to
9
10   Sand Park pursuant to Section 361, 363, and 552(b) of the Bankruptcy Code, a valid,
11   attached, choate, enforceable, perfected, post-petition security interest and lien in and
12
     against all post-petition assets of the Debtor of the same character and type, to the same
13
14   nature, extent, validity, and priority that existed prepetition, and to the extent of
15   diminution in value of Sand Park’s collateral caused by the Debtor’s use of Cash
16
     Collateral.
17
18            Continued access to cash collateral will provide the Debtor with the liquidity
19   necessary to ensure that the Debtor has sufficient working capital to continue operating
20   its business and preserve and maintain the value of the Debtor’s estate. Without access to
21
     such liquidity, the Debtor and its estate will face irreparable harm.
22
        IV.      THE DEBTOR SHOULD BE PERMITTED TO USE CASH
23
                 COLLATERAL
24
                 a. The Relief Requested Is Authorized by 11 U.S.C. § 363
25
              Section 363 of the Bankruptcy Code, made pertinent to this case by 11 U.S.C. §
26
     1107, governs a debtor-in-possessions' use of property of an estate. Section 363(c)(1)
27
     provides in pertinent part that:
28


                                                       8
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
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1
              If the business of the debtor is authorized to be operated under section 721, …of
              this title and unless the court orders otherwise, the [debtor-in- possession] may
2             enter into transactions, including the sale or lease of property of the estate, in the
              ordinary course of business, without notice or a hearing, and may use property of
3
              the estate in the ordinary course of business without notice or a hearing.
4
     11 U.S.C. § 363(c)(1).
5
              Section 363(c)(2) stablishes a special requirement with respect to “cash
6
     collateral”, by providing that a debtor-in-possession may not use, sell or lease “cash
7
     collateral” under subsection (c)(1) unless (i) such entity that has an interest in such
8
     collateral consents or (ii) the court, after notice and a hearing, authorizes such use, sale or
9
     lease.
10
              “Cash collateral” is defined by the Code as follows:
11
              [C]ash, negotiable instruments, documents of title, securities, deposit accounts, or
12            other cash equivalents whenever acquired in which the estate and an entity other
13
              than the estate have an interest and includes the proceeds, products, offspring,
              rents, or profits of property and the fees, charges, accounts or other payments for
14            the use or occupancy of rooms and other public facilities in hotels, motels, or other
              lodging properties subject to a security interest as provided in section 552(b) of
15
              this title, whether existing before or after the commencement of a case under this
16            title.
17   11 U.S.C. § 363(a).
18            The definition of “cash collateral” set forth in Section 363(a) refers to Section
19   552(b) of the Code, which provides:
20         Except as provided in sections 363, 506(c), 522, 544, 545, 547 and 548 of this
           title, if the debtor and an entity entered into a security agreement before the
21         commencement of the case and if the security interest created by such security
22         agreement extends to property of the debtor acquired before the commencement of
           the case and to proceeds, products, offspring, rents, or profits of such property,
23         then such security interest extends to such proceeds, products, offspring, rents or
24         profits acquired by the estate after the commencement of the case to the extent
           provided by such security agreement and by applicable non-bankruptcy law,
25         except to the extent that the court, after notice and a hearing and based on the
26         equities of the case, orders otherwise.
     11 U.S.C. § 552(b)(1).
27
28


                                                       9
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
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1           It is universally acknowledged that the debtor’s cash “is the life blood of the
2    business” and the bankruptcy court must ensure that such life’s blood “is available for use
3    even if to a limited extent.” In re Mickler, 9 B.R. 121, 123 (Bankr. M.D. Fla. 1981).
4    Courts typically authorize a debtor-in-possession to use cash collateral to continue its
5    business operations so long as the interests asserted by affected creditors in such cash are
6
     adequately protected.
7
            As this Motion and the declaration in support of this Motion demonstrate, the
8
     standards for authorizing the Debtor to utilize cash collateral are satisfied in this case
9
     because the continuing operations will preserve the value of the Debtor’s business as a
10
     going concern.
11
            For the present, the Debtor is offering to make monthly adequate protection
12
     payments to the U.S. Small Business Administration in the amount of $1,237.00, and
13
     adequate protection payments to Amazon in the amount of $5,000.00 per month, as well
14
15   as the additional protection proposed to SBA, Amazon, and Sand Park. Debtor believes

16   the Secured Creditors are adequately protected by the ongoing business operations and

17   the income to be generated throughout the pendency of Debtor’s bankruptcy case, and by
18   granting a replacement lien to the extent of any diminution in value of collateral as a
19   result of the Debtor's continued use of cash collateral. The replacement lien would be on
20   all post-petition assets in the same priority and to the same extent and validity as the
21   Secured Creditors asserted pre-petition.
22          In the case at bar, the Court should allow the continued use of cash collateral
23   because the interests of the Secured Creditors are adequately protected. Section 361 of
24   the Bankruptcy Code provides a non-exclusive list of ways to provide adequate
25
     protection, including periodic cash payments, the grant of liens on new collateral, and
26
     replacement liens. 11 U.S.C. §361. What constitutes adequate protection must be decided
27
     on a case-by- case basis. In re O’Connor, 808 F.2d 1393, 1396 (10th Cir. 1987). The
28


                                                       10
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
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1    focus of the adequate protection requirement is to protect a secured creditor from
2    diminution in the value of its interest in the collateral during the period of use. In re
3    Swedeland Dev. Group, Inc., 16 F.3d 552, 564 (3rd Cir. 1994).
4           The Debtor submits that the proposed adequate protection is appropriate and
5    sufficient to protect the Secured Creditors from any diminution in value of their collateral
6
     until a later hearing by the Court. The cash collateral, based on the attached budget, will
7
     be used for funding necessary business operations. Access to this cash collateral will
8
     permit the Debtor to fund payroll, purchase raw materials, pay vendors, utilities, and
9
     otherwise continue business in the ordinary course. If Cash Collateral is not available, the
10
     Debtor’s business will dissipate value to the detriment of the Secured Creditors and other
11
     stakeholders. Thus, the continued use of cash collateral will protect the Secured
12
     Creditors’ security interests by preserving the value of the collateral. See In re Salem
13
     Plaza Assocs., 135 B.R. 753, 758 (Bankr. S.D.N.Y. 1992) (holding that a debtor’s use of
14
15   cash collateral to pay operating expenses, thereby “preserv[ing] the base that generates

16   the income stream,” provided adequate protection to the secured creditor). See also Save

17   Power Ltd. v. Pursuit Athletic Footwear, Inc. (In re Pursuit Athletic Footwear, Inc.), 193
18   B.R. 713, 716 (Bankr. D. Del. 1996); In re 499 W. Warren St. Assocs., Ltd. P’ship, 142
19   B.R. 53, 56 (Bankr. N.D.N.Y. 1992).
20          A debtor-in-possession's authority to use cash collateral is typically conditioned on
21   providing “adequate protection” to entities that assert an interest in such cash. 11 U.S.C.
22   § 361. Although the term “adequate protection” is not defined in the Bankruptcy Code,
23   Section 361 provides the following three non-exclusive examples of what may constitute
24   adequate protection:
25
        (1) requiring the [debtor-in-possession] to make a cash payment or periodic cash
26
            payments to such entity, to the extent that the …use…under section 363 of this
27
            title …results in a decrease in the value of such entity’s interest in such property.
28


                                                       11
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
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1        (2) providing to such entity an additional or replacement lien to the extent that such
2            …use …results in a decrease in the value of such entity’s interest in such property;
3            or
4        (3) granting such other relief …as will result in the realization by such entity of the
5            indubitable equivalent of such entity’s interest in such property.
6
     11 U.S.C. § 361
7
             Neither Section 361 nor any other provision of the Code defines the nature and
8
     extent of “interest in property” of which a secured creditor is entitled to adequate
9
     protection under Section 363. However, the statute plainly provides that a qualifying
10
     interest demands protection only to the extent that the use of the creditor’s collateral will
11
     result in a decrease in “the value of such entity’s interest in such property”. United
12
     Savings Ass’n of Texas v. Timbers of Inwood Forest Assocs., Ltd., 484 U.S. 365, 108 S.
13
     Ct. 626, 98 L. Ed. 2d 740 (1988).
14
15           Timbers teaches that secured creditors are entitled to “adequate protection” only

16   against the diminution in their interest in asserted collateral by reason of the use of cash

17   collateral. Where the value of the Secured Creditors collateral is not diminishing by the
18   Debtor's use, sale, or lease, it follows that Lenders' interests in cash collateral is
19   adequately protected.2 In In re McCombs Props. VI, Ltd., 88 B.R. 261 (Bankr. C.D. Cal.
20   1988), the court applied the foregoing straightforward interpretation of Timbers in ruling
21   that a secured creditor’s interest in the cash and proceeds derived from a debtor’s
22   operations was adequately protected where the value of the collateral was not declining
23   during the pendency of the bankruptcy case. On the nature of the protection required, the
24   court noted:
25
     2 In In re Alyucan Interstate Corp., 12 B.R. 803 (Bankr. D. Utah 1981), the court ruled that an equity
26
     cushion is not a requirement of adequate protection because a secured creditor is only entitled to
27   protection against a decline in the value of its lien. The court reasoned that Section 361 speaks not in
     terms of preserving equity, but in terms of compensating for any “decrease in the value of [an] interest in
28   property”. Id., at 803. The Supreme Court’s decision in Timbers confirms the interpretation of Section


                                                         12
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
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1
            The analysis of the Supreme Court in Timbers is instructive here. The phrase
            “interest in property” in § 363 means the value of the collateral. That is the interest
2           that I am required to protect. If that value is likely to diminish during the time of
            the use, adequate protection must be provided by the debtor. As the Supreme
3
            Court stated in Timbers, thus, it is agreed if the apartment project in this case had
4           been declining in value petitioner would have been entitled, under § 362(d)(1) to
            cash payments or additional security in the amount of the decline, as § 361
5
            describes.
6
     Id., at 266 (quotations omitted).
7
            Similarly, in In re Forest Ridge, II, Ltd. Partnership, 116 B.R. 937 (Bankr.
8
     W.D.N.C. 1990), the court ordered that no adequate protection payments were required,
9
     because the property in question was not decreasing in value. See also In re Megan-
10
     Racine Assocs., Inc., 202 B.R. 660 (Bankr. N.D.N.Y. 1996) (stating that adequate
11
     protection is intended to compensate a creditor for any decrease in the value of its
12
     security interest in collateral during the pendency of a debtor’s reorganization); In re
13
     Gallegos Research Corp., 193 B.R. 577 (Bankr. D. Colo. 1995).
14
15          Applying the foregoing authorities to the instant case, the Secured Creditors are

16   entitled to protection only against the decline in value of their interests in the collateral

17   which secures their claims. The Debtor’s sales are projected to increase over the next

18   several years and thus the continuing operation of the Debtor is adequate protection of the
19   Secured Creditors.
20          In light of the foregoing, the Debtor submits that the proposed adequate protection
21   to be provided is appropriate and necessary to protect the Secured Creditors against any
22   diminution in value and is also fair and appropriate under the circumstances of this case
23   and to ensure that the Debtor is able to use cash collateral in the near term, for the benefit
24   of all parties in interest and its estate. In order to avoid immediate and irreparable harm
25
     and prejudice to the Debtor, its estate, and all parties in interest, the Debtor requests that
26
     the Court authorize the Debtor to have continued use of cash collateral.
27
28


                                                       13
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
          MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ANTHONY ALCAZAR IN SUPPORT THEREOF
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1     V.    CONCLUSION
2           Based upon the foregoing, the Debtor respectfully requests that the Court grant the
3    relief herein requested, authorizing continued use of cash collateral on the terms and
4    conditions described in the Motion and the budget thereto and granting such other and
5    further relief as is just and proper under the circumstances.
6
7
                                                    LAW OFFICES OF MICHAEL JAY BERGER
8
9
10   Dated: 5/9/2024                                By: /s/ Michael Jay Berger
                                                    Michael Jay Berger
11
                                                    Counsel for Debtor-in-Possession
12                                                  Mr. Tortilla, Inc.
13
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                                                       14
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
          MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ANTHONY ALCAZAR IN SUPPORT THEREOF
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1                           DECLARATION OF ANTHONY ALCAZAR
2           I, Anthony Alcazar, declare and state as follows:
3           1.      I am the Chief Executive Officer of Mr. Tortilla, Inc. (the “Debtor”) herein.
4    I have personal knowledge of the facts set forth below and if called to testify as to those
5    facts, I could and would competently do so.
6
            2.      The Debtor is a California corporation which is wholly owned by myself
7
     and my brother Ronald Alcazar. The Debtor owns and operates a tortilla manufacturing
8
     and food processing business located in San Fernando -- Mr. Tortilla -- which was started
9
     in 2012. I own 81% of the shares and I am the President and CEO. Ronald owns 19% of
10
     the shares and is the CFO.
11
            3.      The Debtor specializes in preparing traditional flour tortillas that are low
12
     fat, low calorie, low sodium and are free of cholesterol and trans-fat; the tortillas are
13
     unique as they are flexible and do not break or stick. Popular flavors include: Gourmet
14
15   White; Whole Wheat; Honey Wheat; Tomato & Basil; Savory Spinach; Chipotle;

16   Jalapeño. In addition to traditional flour tortillas, Debtor produces low-carbohydrate

17   tortillas for low-carb and keto dieters.
18          4.      My brother and I decided to start Mr. Tortilla as one of our fondest
19   childhood memories is that of our mother preparing flour tortillas on a flat griddle called
20   a comal. The Debtor sells its tortillas to distributors and wrap manufacturers, and through
21   online retailers such as Amazon.com and others. Debtor’s product is the top selling
22   tortilla on Amazon.com.
23          5.      The events precipitating the Debtor’s current Chapter 11 bankruptcy
24   include Debtor’s affiliated vendors, such as 8Fig, Inc., intercepting the Debtor’s
25
     receivables.
26
            6.      The Debtor has determined that absent the use of cash collateral, it will be
27
     unable to operate its business, irreparably harming the Debtor’s estate and creditors. If
28


                                                       15
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
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1    the Debtor is unable to maintain its business and produce and supply tortillas for its
2    customers, the Debtor will not be able to run its business, will lose existing employees,
3    vendors, and customers, and will ultimately be forced to cease operations. This will cause
4    harm to the Debtor. Furthermore, lack of use of cash collateral will harm the creditors of
5    the estate because, if the business ceases its operation, no revenue will come in to support
6
     the plan payments. Therefore, Debtor’s continued access to cash collateral is necessary
7
     to preserve and maximize the value of its assets for the benefit of all parties in interest.
8
            7.      The Secured Creditors effected by Debtor’s proposed use of cash collateral
9
     are as follows in the order of priority of UCC filings:
10
                    a. U.S. Small Business Administration, UCC no. 20-7779943462, filed
11
                        May 20, 2020.
12
                    b. Amazon Capital Services, Inc., UCC no. U210083315624, filed
13
                        September 8, 2021. Amazon has the priority claim against Debtor’s cash
14
15                      collateral generated through Amazon’s seller accounts, notwithstanding

16                      the seniority of the U.S. Small Business Administration’s UCC filing.

17                  c. Corporation Service Company (as representative), UCC no.
18                      U220179776030, filed March 30, 2022
19                  d. Corporation Service Company (as representative), UCC no.
20                      U220213901220, filed July 27, 2022.
21                  e. Sand Park Capital LLC, UCC no. U220219238027, filed August 16,
22                      2022.
23                  f. Fasanara Securitisation S.A., UCC no. U220228375230, filed
24                      September 20, 2022.
25
                    g. 8Fig, Inc., UCC no. U220251441725, filed December 14, 2022.
26
                    h. Huntington Valley Bank, UCC no. U220255076422, filed December 28,
27
                        2022.
28


                                                       16
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
          MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ANTHONY ALCAZAR IN SUPPORT THEREOF
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1                   i. First Corporate Solutions (as representative), UCC no. U230007398433,
2                       filed January 31, 2023.
3                   j. Partners Personnel Management Services, LLC, UCC no.
4                       U230017096122, filed March 13, 2023.
5                   k. Metropolitan Capital Bank & Trust, UCC no. U230024532824, filed
6
                        April 7, 2023.
7
                    l. Stor RB One Limited, UCC no. U230077163329, filed October 27,
8
                        2023.
9
                    m. Parkside Funding Group LLC, UCC no. U230017096122, filed January
10
                        16, 2024.
11
                    n. CT Corporation Service Company (as representative), UCC no.
12
                        U240005322926, filed January 23, 2024.
13
                    o. Cedar Advance
14
15                  p. Shopify Capital

16                  q. Sellers Funding

17          8.      The Debtor seeks permission for the continued use of cash collateral, in

18   accordance with the cash collateral budget (“Budget”) attached as Exhibit-1, to pay
19   various necessary items in the ordinary course of business and as authorized by the Court,
20   including payroll, Amazon, insiders (Debtor has complied with the Notice of Setting
21   Insider Compensation), raw materials, utilities, taxes, and other expenses necessary for
22   the business operation.
23          9.      The Debtor at this time is offering to make monthly adequate protection
24   payments to the first position secured creditor, the U.S. Small Business Administration,
25   in the amount of $1,237.00 per month, and adequate protection payments to Amazon in
26
     the amount of $5,000.00 per month. Debtor believes that all the Secured Creditors are
27
     adequately protected by the ongoing business operations and the income to be generated
28


                                                       17
       DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
          MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ANTHONY ALCAZAR IN SUPPORT THEREOF
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     1   throughout the pendency of Debtor’s bankruptcy case, and the granting of a replacement
     2   lien to the extent of any diminution in value of collateral as a result of the Debtor’s
     3   continued use of cash collateral. The replacement lien would be on all post-petition
         assets in the same priority and to the same extent and validity as the Secured Creditors
         asserted pre-petition.
     6
                 10.    Continued access to existing cash collateral will provide the Debtor with
         the liquidity necessary to ensure that the Debtor has sufficient working capital to continue
     8
         operating its business and preserve and maintain the value of the Debtor’s estate. Without
     9
         access to such liquidity, the Debtor and its estate will face irreparable harm.
 10
                I declare under penalty of perjury that the foregoing is true and correct and that
 11
         this declaration is executed on May 9, 2024 at San Fernando, California.
 12
 13
14                                                                    Anthony Alcazar
15
16
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                                                        18
          DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO II USC.
                                                                                                       § 363
             MEMORANDUM OF POINTS AND AUTHORITIES, DECLARATION OF ANTHONY ALCAZAR IN SUPPORT THEREOF
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                                EXHIBIT-i
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                                          Projected Income and Expenses   -   Mr. Tortilla, Inc.
                                                           May-24   —    _.     Jun-24               Jul-24          Aug-24
  Income
   Amazon FBA Inventory Credit
                                                                    I    i                                                                     Comments
                                                             $4,271.45            $4,442.31            $4,620.00       $4,804.81
   AmazonGiflwrapcredits                                         $3.60                $3.74               $3.89            $4.05
   Amazon Promotional Rebate Refunds                          $615.92               $640.56             $666.18          $692.83
   Amazon Sales CAD-

                                                           $91,297.92            $94,949.84          $98,747.83      $102,697.75
   Amazon Sales DC -
                                                                $0.00                  $0.00              $0.00             $0.00
   Amazon Sales UK -
                                                                $0.00                  $0.00              $0.00            $0.00
   Amazon Sales US -
                                                            $4,790.72            $4,982.35            $5,181.65        $5,388.91
   Amazon Sales Vendor US
                   -
                                                          $320,457.42          $333,275.72          $346,606.75     $360,471.02
   Amazon Shipping Credits                                     $60.20               $62.60               $65.11          $67.71
   eBay Sales                                                 $139.24               $144.81             $150.61          $156.63

                                                                                                                                Adjusted this forecast due to large
   Other Sales                                            $122,708.84          $132,525.55          $143,127.59     $154,577.80 strides made in the last month
   Sales Tax                                                  $974.49            $1,013.47            $1,054.01        $1,096.17


                                                                                                                                Placed in the income category as this
                                                                                                                                deduction is taken from Shopify
   Shopify Promotional Discounts                          -$82,012.20          -$85,292.69          -$88,704.40     -$92,252.58 income before it is paid.
   Shopify Sales                                          $248,364.41          $258,298.99          $268,630.95     $279,376.19
   Shopify Shipping                                         $3,059.61            $3,182.00            $3,309.28       $3,441.65
   Walmart Sales                                            $9,750.21           $10,140.22           $10,545.82      $10,967.66


 Gross Income                                         481 84                  b9T4J 4 005 27                        $831 490 59

 Expenses
  Amazon Adjustments                                         $329.66               $339.55             $349.74           $360.23
  Amazon Carrier shipping label adjustments                  $326.45               $336.25             $346.33           $356.72
                                                                                                                                Marketing Activities inside Amazon
  Amazon Cost of Advertising                               $23,645.30           $24,354.66           $25,085.30      $25,837.86 Ads Platform.
  Amazon FBA inventory and inbound services fees            $1,110.81            $1,144.13            $1,178.46       $1,213.81
  Amazon FBA product sale refunds                            $614.04              $632.47              $651.44          $670.98
  Amazon FBA selling fees                                  $5,242.24            $5,399.51            $5,561.50        $5,728.34
  Amazon FBA transaction fees                             $10,205.74           $10,511.91           $10,827.27       $11,152.09
  Amazon Promotional Rebates                              $27,978.59           $28,817.95           $29,682.49       $30,572.96
  Amazon Refund administration fees                          $106.90               $110.11             $113.41          $116.81
  Amazon Seller fulfilled selling fees                     $6,948.73             $7,157.19           $7,371.91        $7,593.06
  Amazon Service fees                                      $3,470.75             $3,574.87           $3,682.12        $3,792.58
  Amazon Shipping credit refunds                              $63.17                $65.06              $67.01           $69.03
  Amazon Shipping label purchases                          $2,182.84             $2,248.33           $2,315.78        $2,385.25
                                                                                                                               Amazon Vendor deducts this from
  Amazon Vendor Base CO-Op                                $38,454.89           $39,993.09           $41,592.81      $43,256.52 our monthly sales 112%)
                                                                                                                               Amazon Vendor deducts this from
  Amazon Vendor Damage Allowance                           $6,409.15            $6,665.51            $6,932.13       $7,209.42 our monthly sales (2%)
                                                                                                                               Amazon Marketing Activities outside
  Amazon Vendor Marketing Expense                         $12,892.42           $13,279.19           $13,677.56      $14,087.89 of Amazon Ads Platform
                                                                                                                                   Amazon Vendor deducts this from
 Amazon Vendor Pick Up Allowance                           $9,613.72            $9,998.27           $10,398.20      $10,814.13 our monthly sales (3%)
                                                                                                                               We will be purchasing a bit heavier
                                                                                                                               than normal to make up for a deficit
 Raw Materials                                           $120,240.09          $123,847.29          $127,562.71     $131,389.59 in raw materials pre-petition
                                                                                                                               Payroll increases as product orders
                                                                                                                               increase, necessitating more hours
Payroll                                                  $172,926.70          $178,114.50          $183,457.94     $188,961.67 of production labor
Insider Compensation Anthony Alcazar
                       -
                                                          $10,000.00           $10,000.00           $10,000.00      $10,000.00
Insider Compensation Ronald Alcazar                        $8,800.00
                       -
                                                                                $8,800.00            $8,800.00       $8,800.00
Insider Compensation       Tony Alcazar                    $8,000.00
                       -
                                                                                $8,000.00            $8,000.00       $8,000.00
 Ebay Fees                                                    $87.20               $89.81              $92.51            $95.28
 PayPal Fees
                                                             $11.55                $11.89              $12.25            $12.62
 Sales Tax Expense                                         $1,911.58            $1,968.93            $2,028.00       $2,088.84
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                                                                                                             Direct to Customer Shipping
     Shipping, Freight & Delivery                    $70,595.48     $72,713.34     $74,894.74     $77,141.58 Expenses.
     Shopify Fees                                     $4,213.21      $4,381.74      $4,557.01      $4,739.29
     Shopify Refunds                                  $2,276.12      $2,344.40      $2,414.73      $2,487.18
     Walmart Fulfillment Services                     $1,244.19      $1,281.52      $1,319.96      $1,359.56
     Walmart Adjustments                                 $16.71         $17.21                        $18.26
                                                                                       $17.73
     Walmart Commission                                 $865.87       $891.84        $918.60         $946.16
     Walmart Refunds                                     $78.75        $81.12         $83.55           $86.06
     Auto Expense                                     $1,273.08      $1,311.27      $1,350.61      $1,391.13
       Car Lease                                      $3,500.00     $3,500.00       $3,500.00      $3,500.00 Company vehicles
  Insurance                                           $3,234.58     $3,234.58      $3,234.58       $3,234.58
                                                                                                             Equipment from Blue Bridge,
                                                                                                             Financial Pacific, and Pawnee
                                                                                                             (mercury). We are negoiating
                                                                                                             adjusted terms with them moving
  Machinery Lease Expense                             $1,000.00     $1,000.00      $1,000.00       $1,000.00 forward
  Repair& Maintenance                                 $2,121.80     $2,185.45      $2,251.02       $2,318.55
                                                                                                                Outside Salespeople to Generate
  OutsideSales                                      $13,100.00     $13,100.00     $13,100.00     $13,100.00 “OtherSales” Revenue
                                                                                                            Wire Fees, ACH fees, monthly
    Bank Charges & Fees                               $1,060.90                    $1,125.51
                                                                    $1,092.73                     $1,159.27 charges, etc.

    Facebook Advertising                            $36,787.16     $38,994.39     $41,334.05     $43,814.09
    Google Advertising                              $15,913.50     $16,390.91     $16,882.63     $17,389.11
    Licenses & Fees                                  $3,362.10      $3,462.96      $3,566.85      $3,673.85
                                                                                                            Includes email platform fees, and
                                                                                                            expenses related to client
 Marketing Expenses                                  $7,758.43                     $8,230.92
                                                                    $7,991.19                     $8,477.85 relationships
   Moving & Storage                                    $309.89        $319.19        $328.77        $338.63
                                                                                                                Miscellanious expenses including
                                                                                                            office supplies, break room, printer
   Office Expenses                                   $3,394.88      $3,496.73      $3,601.63      $3,709.68 fees
                                                                                                            Forklifts and other rented
 Equipment Rental                                    $2,500.00      $2,500.00      $2,500.00      $2,500.00 equipment
                                                                                                            Currently negotiating With landlords
                                                                                                            for delayed rent payment to April 1st
                                                                                                            as we do not have access to our
 8134 Lankershim Rent                               $17,510.00    $17,510.00     $17,510.00      $17,510.00 funds yet
                                                                                                               Currently negotiating With landlords
                                                                                                               for delayed rent payment to April 1st
                                                                                                            as we do not have access to our
 1112 Arroyo St. Unit A
                                                     $7,775.00     $7,986.00      $7,986.00      $7,986.00 funds yet
                                                                                                            Currently negotiating With landlords
                                                                                                            for delayed rent payment to April 1st
                                                                                                            as we do not have access to our
 1112 Arroyo St. Unit B                              $4,029.00     $4,143.00      $4,143.00      $4,143.00 funds yet
                                                                                                            Currently negotiating With landlords
                                                                                                           for delayed rent payment to April 1st
                                                                                                           as we do not have access to our
 1110 Arroyo St. Office                             $2,287.50      $2,287.50      $2,287.50      $2,287.50 funds yet
                                                                                                           Currently negotiating With landlords
                                                                                                           for delayed rent payment to April 1st
                                                                                                           as we do not have access to our
1104 Arroyo St.
                                                    $7,589.00      $7,589.00      $7,589.00      $7,589.00 funds yet
                                                                                                              Monthly applications that make up
                                                                                                              our tech stack, as our ecommerce
                                                                                                              revenue grows this expense also
  Software Subscription License                     $1,558.99      $1,605.76      $1,653.93      $1,703.55 scales
  Travel                                            $1,131.59      $1,165.54      $1,200.51      $1,236.52 meetings, flights with customers and
  Trade Shows                                      $10,500.00     $10,500.00     $10,500.00     $10,500.00 Shows to obtain distribution
  Utilities                                         $5,419.40      $5,581.98      $5,749.44      $5,921.93 Power, Gas, Water, Trash
U.S. Small Business Administration (SBA)            $1,237.00      $1,237.00      $1,237.00      $1,237.00 Adequate protection payments.

Adequate Protection Payments to Amazon Capital
Services, Inc.                                      $5,000.00      $5,000.00      $5,000.00      $5,000.00 Adequate protection payments.
Deborah Tyrell (Bookkeeping Services). For                                                                 She worked with our previous case
Preparation of MOR                                  $1,500.00     $1,500.00      $1,500.00       $1,500.00 and understands our business
                                                                                                             Estimated payable for pm-petition
Amazon US Seller Account Payments                   $1,000.00     $1,000.00      $1,000.00      $1,000.00 Amazon Fees.
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Amazon Canada Seller Account Payments for pre-                                                              Estimated payable for the pre
petition Amazon Fees                                  $1,600.00     $1,600.00                               petition Amazon Fees.
Law Offices of Michael Jay Berger (general
bankruptcy counsel) subject to court
                      -




approval                                                           $20,000.00
Office of the U.S. Trustee Quarterly Fees
                           -




(estimated)                                                                       $8,643.71
Total Expenses                                      $714,316.66   $754,456.82   $761,999.84   $774,565.02
Net Income                                           $10,165.19     $3,912.65    $32,005.43    $56,925.56
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
9454 Wilshire Blvd., 6th Fl., Beverly Hills, CA 90212

A true and correct copy of the foregoing document entitled (specify DEBTOR’S MOTION FOR ORDER
AUTHORIZING CONTINUED USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363;
MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF ANTHONY ALCAZAR IN
SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_5/9/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 5/9/2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _5/9/2024__, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
Honorable Victoria Kaufman
United States Bankruptcy Court
Central District of California
21041 Burbank Boulevard, Suite 354 / Courtroom 301
Woodland Hills, CA 91367
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

        5/9/2024                            Peter Garza                                         /s/Peter Garza
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
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Counsel for Spartan Business Solutions: Anthony F. Giuliano afg@glpcny.com
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Austin, TX 78758

8Fig, Inc.
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Bluevine
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Cedar Advance
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Brooklyn, NY 11210

Cedar Advance
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Santa Monica, CA 90401

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As Representative
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CT Corporation Service Company
as Representative
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Huntington Valley Bank
990 Spring Garden Street 700
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Huntington Valley Bank
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15 South Main Street
Mansfield, PA 16933-1590

Mercury Capital
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Metropolitan Capital Bank & Trust
9 East Ontario Street
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865 Nj-33 Business 3 Unit 192
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Partners Personnel
Management Services, LLC
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Henderson, NV 89012

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Richmond, VA 23219

Slope Advance
7 Freelon Street
San Francisco, CA 94107

Spartan Capital
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Middletown, NY 10940

Stor RB One Limited
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U.S. Small Business Administration
10737 Gateway West, #300
El Paso, TX 79935

U.S. Small Business Administration
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Internal Revenue Service
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Lyneer Staffing
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